             Case 1:20-cr-00316-WJ Document 38 Filed 04/14/20 Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

       vs.                                                    No. 20-cr-0316 WJ

TROY LIVINGSTON,

                Defendant.

      DEFENDANT TROY LIVINGSTON’S NOTICE OF INTENT TO OFFER EXPERT
                              TESTIMONY

       Pursuant to Fed. R. Crim. P. 16(b)(1)(C), Defendant Troy Livingston respectfully gives notice

of his intention to call Dr. Simone Viljoen as an expert witness at trial. Dr. Viljoen is a forensic

psychologist who will provide “expert evidence relating to a mental disease or defect or any other

mental condition of the defendant bearing on … (1) the issue of guilt.” Fed. R. Crim. P. 12.2(b)(1).

The defense expects Dr. Viljoen to testify consistently with her report, which the defense disclosed to

the United States on April 13, 2020. Dr. Viljoen’s CV, as well as the documents on which she relied in

reaching her opinions, will be disclosed to the United States shortly.


                                       Respectfully submitted,

                                       /s/ Theresa M. Duncan_____
                                       Theresa M. Duncan
                                       Duncan Earnest, LLC
                                       515 Granite NW
                                       Albuquerque, NM 87102
                                       505-842-5196
                                       teri@duncanearnest.com

                                       Attorney for Troy Livingston
          Case 1:20-cr-00316-WJ Document 38 Filed 04/14/20 Page 2 of 2



                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 14th day of April 2020, I filed the foregoing pleading

electronically through the CM/ECF system, which caused counsel for Plaintiff to be served by

electronic means, as more fully reflected on the Notice of Electronic Filing.



                                      /s/ Theresa M. Duncan
                                      Theresa M. Duncan




                                                    2
